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Pelker, Catherine (CRM)

From:                Brown, Christopher (USADC)
Sent:                Wednesday, August 24, 2022 10:24 AM
To:                  Tor Ekeland; Michael Hassard
Cc:                  Pelker, Catherine (CRM); Tart, Michon (USADC)
Subject:             RE: U.S. v. Roman Sterlingov - discovery production


Thanks, Tor. Let us know if you have a tracking number, and we will tell the agents to be expecting the hard drive.

As to the rest, we will let our filings speak for themselves. If you have a legal basis to demand a pretrial hearing and
testimony from any of our agents, you are welcome to file a motion with the Court.

Regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
Office:               | Mobile:                      Christopher.Brown6@usdoj.gov

From: Tor Ekeland <tor@torekeland.com>
Sent: Wednesday, August 24, 2022 10:09 AM
To: Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>; Michael Hassard <Michael@torekeland.com>
Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>; Tart, Michon (USADC)
Subject: [EXTERNAL] Re: U.S. v. Roman Sterlingov ‐ discovery production

Chris:

Thank you. I think we sent out the harddrive for the Romanian server discovery; I’ll double check. Also, we note your
new search warrant applications and ask that you please have the IRS agent who filed them available for testimony at
any upcoming hearings; let me know if we need to subpoena him. Furthermore, please state your basis for sealing (after
publicly filing them) the new warrant applications on the magistrate’s docket. Again, your warrants are riddled with
errors (to the point of contradicting your prior representations to the court) and you should drop this case because you
have imprisoned an innocent man.

    ‐    Tor

Tor Ekeland
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New York, NY 10005
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From: Brown, Christopher (USADC) <Christopher.Brown6@usdoj.gov>
Date: Tuesday, August 23, 2022 at 10:30 PM
To: Tor Ekeland <tor@torekeland.com>, Michael Hassard <Michael@torekeland.com>, Nicole
Guitelman
Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>,
                         >
Subject: RE: U.S. v. Roman Sterlingov ‐ discovery production

Counsel – Attached please find another discovery letter, which accompanies the production of discovery,
available via USAfx:
https://usafx.app.box.com/folder/170434737621

In addition, please be reminded about the availability of the Romania server discovery, per instructions below.

Thanks, and regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
Office:               | Mobile:                   | Christopher.Brown6@usdoj.gov

From: Brown, Christopher (USADC)
Sent: Thursday, May 12, 2022 12:34 AM
To: Tor Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Cc: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>;
Subject: U.S. v. Roman Sterlingov ‐ discovery production

Tor and Michael – Attached please find a discovery letter, which accompanies the production of additional
discovery via USAfx here: (41) Sterlingov May 11, 2022 production | Powered by Box

In addition, there is one remaining electronic device discovery item, the server obtained from Romania. To
receive a copy of the Romanian server data, please send a 2TB drive (clearly marked with defendant’s name,
case number, and your return address) to:

        FBI
        Attn:

        Manassas, VA 20109

With these productions, we believe discovery is substantially complete, except as to a handful of miscellaneous
files that we are in the process of reviewing and processing.

Regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
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Office:             | Mobile:         | Christopher.Brown6@usdoj.gov




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